        Case 2:14-cr-00326-JAM Document 50 Filed 12/16/15 Page 1 of 2


 1   JENNIFER C. NOBLE, ESQ., CSBN 256952
     WISEMAN LAW GROUP, P.C.
 2      1477 Drew Avenue, Suite 106
        Davis, California 95618
 3      Telephone: 530.759.0700
        Facsimile:    530.759.0800
 4
     Attorney for Defendant
 5
     ELISABET PEREZ
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                 SACRAMENTO DIVISION

10

11
     UNITED STATES OF AMERICA,                           ) Case No. 2:14-CR-0326 JAM
                                                         )
12
                                     Plaintiff,          )
                                                         )
13
             vs.                                         ) STIPULATION AND [PROPOSED
                                                         ) ORDER] TO MODIFY CONDITIONS
14
                                                         ) OF PRE-TRIAL RELEASE
                                                         )
15
     ELISABET PEREZ,                                     )
                                                         )
16
                                     Defendant.          )
                                                         )
17
                                                         )

18                     IT IS HEREBY STIPULATED by and between the parties, the UNITED
19   STATES OF AMERICA, through undersigned counsel, Josh Sigal, Assistant United
20   States Attorney, and Jennifer C. Noble, attorney for Elisabet Perez, with no objection
21   from the Pre-Trial Officer, that Elisabet Perez’s pre-trial release be modified to remove
22   the requirement that she participate in a location monitoring program and abide by a
23   curfew.
24            Ms. Perez has been on pre-trial supervision since December 18, 2014. She was
25   required to wear an ankle monitor (Condition No. 15) and was largely restricted to her
26   residence from 7 p.m. to 7 a.m. (Condition No. 16). In the last year, Ms. Perez has
27   participated in the MRT counseling program and is nearing graduation. The pre-trial
28   officer has reported that Ms. Perez has no known violations of supervision in her time

                                                          1
     Stipulation and Proposed Order                                    Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
        Case 2:14-cr-00326-JAM Document 50 Filed 12/16/15 Page 2 of 2


 1   under supervision.
 2            For these reasons, Ms. Perez requests that Condition Nos. 15 and 16 be removed
 3   from her conditions of pretrial release. All other conditions of pre-trial release would
 4   remain unchanged.
 5

 6   IT IS SO STIPULATED.
 7
     Dated: December 15, 2015                              By: /s/ Jennifer C. Noble
 8                                                         JENNIFER C. NOBLE
                                                           WISEMAN LAW GROUP
 9                                                         Attorney for Defendant
                                                           ELISABET PEREZ
10

11
     Dated: December 15, 2015                              BENJAMIN B. WAGNER
12                                                         United States Attorney
13
                                                           By: /s/ JOSH F. SIGAL
14                                                         JOSH F. SIGAL
                                                           Assistant United States Attorney
15

16

17                                               PROPOSED ORDER

18            GOOD CAUSE APPEARING, it is hereby ordered that the Conditions of Pre-Trial
19   Release be modified as follows:
20            Condition 15 requiring defendant to wear an electronic monitoring device shall be
21   removed. Condition 16 restricting defendant to her home for the hours of 7:00 p.m. to
22   7:00 a.m. shall be removed. All other conditions of pre-trial release remain in force.
23

24   IT IS SO ORDERED.
25
     Dated: December 15, 2015
26

27

28


                                                       2
     Stipulation and Proposed Order                                        Case No. 2:14-CR-0326 JAM
     To Modify Conditions of Pre-Trial Release
